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                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF MAINE

 Federal National Mortgage Association              CIVIL ACTION NO: 2:20-cv-00357-JAW

                 Plaintiff                          AMENDED COMPLAINT

                         vs.

 Lorelle Courtois a/k/a Lorelle T. Courtois         RE: VACANT REAL PROPERTY
                                                    17 Romeys Way f/k/a 45 Straw Road,
                Defendant                           Gorham, ME 04038

 Alan A. Labrecque a/k/a Alan A. Lebrecque Mortgage:
                                           June 4, 2007
              Party-In-Interest            Book 25168, Page 287

        NOW COMES the Plaintiff, Federal National Mortgage Association, by and through its

 attorneys, Doonan, Graves & Longoria, LLC, and hereby complains against the Defendant, Lorelle

 Courtois a/k/a Lorelle T. Courtois, as follows:

                                JURISDICTION AND VENUE

    1. This Court has jurisdiction over this action pursuant 28 U.S.C. § 1332(a)(1) (Diversity)

        because the Plaintiff and Defendant are citizens of different states and the matter in

        controversy exceeds the sum or value of seventy-five thousand and 00/100 ($75,000.00)

        dollars, exclusive of interest and costs. Any Court of the United States, upon the filing of

        an appropriate pleading, may declare the rights and other legal relations of any interested

        party seeking such declaration, whether or not further relief is or could be sought under 28

        U.S.C. § 2201.

    2. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)(1) because the

        object of this litigation is a Note executed under seal currently owned and held by Federal

        National Mortgage Association, in which the Defendant, Lorelle Courtois a/k/a Lorelle T.

        Courtois, is the obligor and the total amount owed under the terms of the Note is Four

        Hundred Thirty-Two Thousand One Hundred Ninety-Five and 24/100 ($432,195.24)
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            Dollars, plus attorney fees and costs associated with the instant action; thus, the amount in

            controversy exceeds the jurisdictional threshold of seventy-five thousand ($75,000.00)

            dollars and Plaintiff seeks only in rem relief against the subject property not personal

            liability on the part of the Defendant.

        3. Venue is properly exercised pursuant to 28 U.S.C. §1391(b)(2) insofar as all or a substantial

            portion of the events that give rise to the Plaintiff ’s claims transpired in Maine and the

            property is located in Maine.

                                                      PARTIES

        4. Federal National Mortgage Association is a national association with its principal place of

            business located at 3900 Wisconsin Avenue, N.W., Washington, D.C. 20016-2892.

        5. The Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, is a resident of Portland, County

            of Cumberland and State of Maine.

        6. The Party-in-Interest, Alan A. Labrecque a/k/a Alan A. Lebrecque, is located at 5 Romeys

            Way, Gorham, ME 04038.

                                                        FACTS

        7. On June 4, 2007, by virtue of a Warranty Deed from Brenda Edgerley (fka Brenda J. Low),

            which is recorded in the Cumberland County Registry of Deeds in Book 25168, Page 285,

            the property situated at 17 Romeys Way f/k/a 45 Straw Road, County of Cumberland, and

            State of Maine, was conveyed to Lorelle Terese Courtois, being more particularly described

            by the attached Exhibit A.1

        8. On June 4, 2007, Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, executed and

            delivered to First Magnus Financial Corporation a certain Note under seal in the amount of

            $244,500.00. Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois’ personal liability is


 1
     Exhibits A-G referenced herein were previously filed on October 1, 2020; please refer to Docket ID #1.
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       limited and/or extinguished by the Chapter 7 bankruptcy filed which resulted in a

       bankruptcy discharge. See Exhibit B (a true and correct copy of the Note is attached hereto

       and incorporated herein).

    9. To secure said Note, on June 4, 2007, Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois

       executed a Mortgage Deed in favor of Mortgage Electronic Registration Systems, Inc., as

       nominee for First Magnus Financial Corporation, securing the property located at 17

       Romeys Way f/k/a 45 Straw Road, Gorham, ME 04038 which Mortgage Deed is recorded

       in the Cumberland County Registry of Deeds in Book 25168, Page 287. See Exhibit C (a

       true and correct copy of the Mortgage is attached hereto and incorporated herein).

    10. The Mortgage was then assigned to Federal National Mortgage Association by virtue of an

       Assignment of Mortgage, dated June 2, 2014, and recorded in the Cumberland County

       Registry of Deeds in Book 31706, Page 316. See Exhibit D (a true and correct copy of the

       Assignment of Mortgage is attached hereto and incorporated herein).

    11. The Mortgage was then arguably further assigned to Federal National Mortgage Association

       by virtue of an Order Nunc Pro Tunc from the Cumberland County Superior Court, Docket

       No. RE-2015-60, entered on December 9, 2015, and recorded in the Cumberland County

       Registry of Deeds in Book 32846, Page 134. See Exhibit E (a true and correct copy of the

       Order Nunc Pro Tunc is attached hereto and incorporated herein).

    12. On February 13, 2020, the Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, was sent a

       Notice of Mortgagor's Right to Cure, as evidenced by the Certificate of Mailing (herein after

       referred to as the “Demand Letter”). See Exhibit F (a true and correct copy of the Demand

       Letter is attached hereto and incorporated herein).

    13. The Demand Letter informed the Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, of

       the payment due date, the total amount necessary to cure the default, and the deadline by
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       which the default must be cured, which was thirty-five (35) days from receipt of the

       Demand Letter. See Exhibit F.

    14. The Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, failed to cure the default prior to

       the expiration of the Demand Letter.

    15. The Plaintiff, Federal National Mortgage Association, is the present holder of the Note

       pursuant to endorsement by the previous holder (if applicable), payment of value and

       physical possession of the Note in conformity with 11 M.R.S. § 3-1201, et seq., and Simansky

       v. Clark, 147 A. 205, 128 Me. 280 (1929).

    16. The Plaintiff, Federal National Mortgage Association, is the lawful holder and owner of the

       Note.

    17. The Plaintiff, Federal National Mortgage Association, hereby certifies that all steps

       mandated by law to provide notice to the mortgagor pursuant to 14 M.R.S.A. § 6111 and/or

       Note were strictly performed.

    18. Alan A. Labrecque a/k/a Alan A. Lebrecque is a Party-in-Interest pursuant to an Easement

       Agreement, dated June 7, 2013, and recorded in the Cumberland County Registry of Deeds

       in Book 30807, Page 273 and is in second position behind Plaintiff's Mortgage.

    19. The total debt owed under the Note and Mortgage (as affected by the bankruptcy discharge

       of the Defendant and the Plaintiff seeks only in rem relief against the subject property and

       does not seek any personal liability on the part of the Defendant) as of April 16, 2020 is

       Four Hundred Thirty-Two Thousand One Hundred Ninety-Five and 24/100 ($432,195.24)

       Dollars, which includes:

                       Description                                 Amount
       Principal Balance                                                       $233,025.71
       Interest                                                                $152,791.29
       Escrow Advance                                                           $32,023.81
       Deferred Late Fees                                                          $315.78
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       Lender Paid Expenses                                                    $14,038.65
       Grand Total                                                            $432,195.24


    20. Upon information and belief, the Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, is

       presently not in possession of the subject property originally secured by the Mortgage.

    21. Upon information and belief, and based upon information provided by the client, the

       subject premises is vacant.

    22. The Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, is not in the Military, as

       evidenced by the attached Exhibit G.

                             COUNT I – QUANTUM MERUIT

    23. The Plaintiff, Federal National Mortgage Association, repeats and re-alleges paragraphs 1

       through 22 as if fully set forth herein.

    24. First Magnus Financial Corporation, predecessor-in-interest to Federal National Mortgage

       Association, loaned Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, $244,500.00. See

       Exhibit B.

    25. The Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, is in default for failure to

       properly tender the September 1, 2013 payment and all subsequent payments, as affected by

       Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois’ discharge in bankruptcy and,

       accordingly, this action does not seek any personal liability on the part of the Defendant,

       Lorelle Courtois a/k/a Lorelle T. Courtois, but only seeks in rem judgment against the

       property. See Exhibit F.

    26. As a result of the Defendant's failure to perform under the terms of her obligation, the

       Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, should be required to compensate

       the Plaintiff, Federal National Mortgage Association, as affected by Defendant, Lorelle

       Courtois a/k/a Lorelle T. Courtois’ discharge in bankruptcy and, accordingly, this action
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        does not seek any personal liability on the part of the Defendant, Lorelle Courtois a/k/a

        Lorelle T. Courtois, but only seeks in rem judgment against the property.

    27. As such, the Plaintiff, Federal National Mortgage Association, is entitled to relief under the

        doctrine of quantum meruit.

    28. The total debt owed under the Note and Mortgage (as affected by the Defendant’s discharge

        in bankruptcy and, accordingly, this action does not seek any personal liability on the part of

        the Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, but only seeks in rem judgment

        against the property.) as of April 16, 2020 is Four Hundred Thirty-Two Thousand One

        Hundred Ninety-Five and 24/100 ($432,195.24) Dollars, which includes:

                       Description                                 Amount
        Principal Balance                                                      $233,025.71
        Interest                                                               $152,791.29
        Escrow Advance                                                          $32,023.81
        Deferred Late Fees                                                          $315.78
        Lender Paid Expenses                                                    $14,038.65
        Grand Total                                                            $432,195.24



                          COUNT II – EQUITABLE MORTGAGE

    29. The Plaintiff, Federal National Mortgage Association, repeats and re-alleges paragraphs 1

        through 28 as if fully set forth herein.

    30. The intent of the Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, and original lender,

        First Magnus Financial Corporation, on June 4, 2007, was to create a mortgage on the

        property, commonly known as and numbered as 17 Romeys Way f/k/a 45 Straw Road,

        Gorham, ME 04038.

    31. This intent is shown by the execution of a Promissory Note dated June 4, 2007 to First

        Magnus Financial Corporation in the amount of $244,500.00.
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    32. The value given at the time of the transaction was $244,500.00, which was significantly

       below the property’s value at that time, clearly indicating that it was the intent of the

       Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, and First Magnus Financial

       Corporation on the date of the transaction, June 4, 2007, that a mortgage be granted on the

       subject property.

    33. The aforesaid Promissory Note, specifically references 17 Romeys Way f/k/a 45 Straw Road,

       Gorham, ME 04038, as the “Property Address”.

    34. In addition to the aforesaid Promissory Note, Defendant, Lorelle Courtois a/k/a Lorelle T.

       Courtois, also executed a Mortgage on June 4, 2007, which particularly referenced exactly the

       same property address of 17 Romeys Way f/k/a 45 Straw Road, Gorham, ME 04038, which

       was referenced on the aforesaid Promissory Note.

    35. The aforesaid Mortgage is arguably unenforceable under current Maine Law pursuant to the

       Greenleaf decision, et al. See, Bank of America, N.A. v. Greenleaf, 2014 ME 89, 96A.3d 700 (Me.

       2014); Federal National Mortgage Association v. Deschaine, 2017 Me. 190, 170 A.3d 230 (Me.

       2017); Pushard v. Bank of America, N.A., 175 A.3d 103, 2017 ME 230 (Me. 2017).

    36. This defect is not related to the original execution of the documents, nor the intent of the

       Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, and First Magnus Financial

       Corporation, but is due to the chain of title for the aforesaid mortgage under Greenleaf and

       33 M.R.S. § 508.

    37. The issue of an equitable mortgage (or other equitable remedies) is not addressed by

       Greenleaf, nor its’ progeny; See Deschaine, Fn. 2, Fn 4; Pushard Fn 14.

    38. It was the intent of the Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, and First

       Magnus Financial Corporation at the time of the transaction, as to the Note, that is

       controlling as to the Court’s interpretation of the imposition of an equitable mortgage.
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    39. The Plaintiff, Federal National Mortgage Association, is the owner and holder of the subject

        Promissory Note (subject to the bankruptcy discharge of the Defendant and the Plaintiff

        does not seek any personal liability on the part of the Defendant but only seeks an in rem

        judgment against the subject property).

    40. The Plaintiff, Federal National Mortgage Association, is owner of the equitable interest in

        the aforesaid mortgage but may arguably not be the record owner of said mortgage under

        the Greenleaf decision.

    41. Equity requires that “what ought to have been done has been done.” See, Smith v. Diplock, 127

        Me. 452, 144 A.383, 386 (Me. 1929).

    42. When it is the intent of the parties, at the time of the transaction, that there be a mortgage

        “[t]he real intent governs”. See, Stinchfield v. Milliken, 71 Me. 567, 570 (1880).

    43. The agreement, as memorialized in the various documents referenced herein constitutes an

        equitable mortgage.

    44. For justice to be served, and under the facts and circumstances of this matter, the Court

        should, and must, impose an equitable mortgage upon the property.

    45. The Court’s imposition of an equitable mortgage should be under, and pursuant to the

        statutory terms of applicable Maine Law, including, but not limited to, the rights of

        redemption, etc. See, Seaman v. Seaman, 477 A.2d 734 (Me. 1984).

                                  COUNT III – SUIT ON NOTE

    46. The Plaintiff, Federal National Mortgage Association, repeats and re-alleges paragraphs 1

        through 45 as if fully set forth herein.

    47. On June 4, 2007, the Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, executed and

        delivered to First Magnus Financial Corporation a certain Note in the amount of

        $244,500.00. See Exhibit B.
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    48. The Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, is in default for failure to

       properly tender the September 1, 2013 payment and all subsequent payments, as affected by

       Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois’ discharge in bankruptcy and,

       accordingly, this action does not seek any personal liability on the part of the Defendant,

       Lorelle Courtois a/k/a Lorelle T. Courtois, but only seeks in rem judgment against the

       property. See Exhibit F.

    49. The Plaintiff, Federal National Mortgage Association, is the proper holder of the Note and

       is entitled to enforce the terms and conditions of the Note due to its breach by the

       Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, as affected by Defendant, Lorelle

       Courtois a/k/a Lorelle T. Courtois’ discharge in bankruptcy, and accordingly, this action

       does not seek any personal liability on the part of the Defendant, but only seeks in rem

       judgment against the property.

    50. The Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, having failed to comply with the

       terms of the Note, is in breach of the Note, as affected by Defendant, Lorelle Courtois

       a/k/a Lorelle T. Courtois’ discharge in bankruptcy, and accordingly, this action does not seek

       any personal liability on the part of the Defendant, but only seeks in rem judgment against

       the property.

    51. The Defendant Lorelle Courtois a/k/a Lorelle T. Courtois's breach is knowing, willful, and

       continuing, as affected by Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois’ discharge

       in bankruptcy, and accordingly, this action does not seek any personal liability on the part of

       the Defendant, but only seeks in rem judgment against the property.

    52. The Defendant Lorelle Courtois a/k/a Lorelle T. Courtois's breach has caused Plaintiff

       Federal National Mortgage Association to suffer actual damages, including, but not limited

       to money lent, interest, expectancy damages, as well as attorney's fees and costs.
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    53. The total debt owed under the Note and Mortgage as affected by the Defendant’s discharge

        in bankruptcy and accordingly, this action does not seek any personal liability on the part of

        the Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, but only seeks in rem judgment

        against the property. as of April 16, 2020 is Four Hundred Thirty-Two Thousand One

        Hundred Ninety-Five and 24/100 ($432,195.24) Dollars, which includes:

                       Description                                 Amount
        Principal Balance                                                      $233,025.71
        Interest                                                               $152,791.29
        Escrow Advance                                                          $32,023.81
        Deferred Late Fees                                                           $315.78
        Lender Paid Expenses                                                    $14,038.65
        Grand Total                                                            $432,195.24


    54. Injustice can only be avoided by awarding damages for the total amount owed under the

        Note including interest, plus costs and expenses, including attorney fees.



                                     PRAYERS FOR RELIEF

 WHEREFORE, the Plaintiff, Federal National Mortgage Association, prays this Honorable Court:

    a) Find that the Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, is in breach of the

        Note by failing to make payment due as of September 1, 2013, and all subsequent payments,

        however, as affected by Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois’ discharge in

        bankruptcy, this action does not seek any personal liability on the part of the Defendant,

        Lorelle Courtois a/k/a Lorelle T. Courtois, but only seeks in rem judgment against the

        property;

    b) Find that the Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, is liable to the Plaintiff

        for quantum meruit, as affected by Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois’
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        discharge in bankruptcy, and accordingly, this action does not seek any personal liability on

        the part of the Defendant, but only seeks in rem judgment against the property;

    c) Find that it was the intent of the Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, and

        the original lender, First Magnus Financial Corporation, on June 4, 2007 to create an

        equitable mortgage on the property commonly known as and numbered as 17 Romeys Way

        f/k/a 45 Straw Road, Gorham, ME 04038;

    d) Impose an equitable mortgage upon the property commonly known as and numbered as 17

        Romeys Way f/k/a 45 Straw Road, Gorham, ME 04038 for the benefit of the Plaintiff who

        currently owns the Note and as manifested by the intent of the parties when the transaction

        was initially consummated;

    e) Impose the applicable time periods for redemption, etc., as reflected in 14 M.R.S.A. § 6322;

    f) Find that while the Defendant, Lorelle Courtois a/k/a Lorelle T. Courtois, have no personal

        liability in this matter, a Judgment in this matter can be imposed in rem against the property

        commonly known as and numbered as 17 Romeys Way f/k/a 45 Straw Road, Gorham, ME

        04038;

    g) For such other and further relief as this Honorable Court deems just and equitable.



                                                        Respectfully Submitted,
                                                        Federal National Mortgage Association,
                                                        By its attorneys,
 Dated: August 23, 2021
                                                        /s/John A. Doonan, Esq.
                                                        John A. Doonan, Esq., Bar No. 3250
                                                        Reneau J. Longoria, Esq., Bar No. 5746
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                                  CERTIFICATE OF SERVICE

         I, John A. Doonan, Esq. hereby certify that on this 23 rd day of August, 2021, I served a copy
 of the above document by electronic notification using the CM/ECF system and/or First Class Mail
 to the following:


                                                        /s/John A. Doonan, Esq.
                                                        John A. Doonan, Esq., Bar No. 3250
                                                        Reneau J. Longoria, Esq., Bar No. 5746
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